Case 1:21-cv-02062-ENV-SJB Document 39 Filed 11/09/22 Page 1 of 4 PageID #: 177
                                                           THE PORT AIRHORnY OF NY & NJ
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    November 9, 2022

    VIAECF

    Honorable Sanket J. Bulsara
    United States Magistrate Judge
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11208

           Re:     Weisshaus v. The Port Authority of New York & New Jersey
                   and Two Unknown Police Officers
                   1:21 CV 2062 (ENV) )SJB)


    Dear Judge Bulsara:

           A) Preliminary Statement

            The Port Authority of New York and New Jersey (the "Port Authority")
    respectfully submits this letter brief in opposition to Plaintiffs motion to amend the
    complaint to add retired Port Authority Police Sergeant, Thomas P. Johnson, as a named
    defendant. This case purports to be a civil rights action arising out of a summons issued
    to Plaintiff for speeding on January 16, 2019. Plaintiff claims the speeding ticket, which
    was ultimately dismissed by the Bayonne Municipal Court, was based upon fabricated
    evidence. While it is undisputed that then Sgt. Thomas P. Johnson was the officer who
    issued the summons, the motion should be denied on the grounds that the application has
    been made after undue and inexcusable delay by Plaintiff, and because it is in
    contravention of this Court's scheduling order.


           B) The Applicable Legal Standard Disfavors Amendment After Undue
              Delay, Where There Is No Excuse For the Delay And Where The
              Amendment Is Untimely Pursuant To The Scheduling Order

            Rule 15(a) provides that "leave [to amend] shall be freely given whenjustice so
    requires." "Liberal amendment promotes judicial economy by making it possible to
    dispose of all contentions between the parties in one lawsuit." Fed. R. Civ. P. 15 (a)(2),
    Bilt-Rite Buck Steel Corp. v. Duncan's Welding & Corr. Equip. Inc., No. 90-cv-311 (TC)
    (JLC), 1990 WL 129970, at *1 (E.D.N.Y. Aug. 24, 1990). The decision to grant or deny


                                                 1
Case 1:21-cv-02062-ENV-SJB Document 39 Filed 11/09/22 Page 2 of 4 PageID #: 178



                                                          THE PORT AUTHORnY OF NY & NJ
    leave under Rule 15 ( a)(2) is within the sound discretion of the court. See Zenith Radio
    Corp. v. Hazeltine Research, Inc., 401 U.S . 321,330, 91 S. Ct. 795, 28 L. Ed. 2d 77
    (1971). A court may deny leave to amend where there is "good reason," which the
    Supreme Court has recognized can be based on any one of the following factors: 1)
    undue delay; 2) bad faith; 3) futility of amendment; or 4) undue prejudice to the opposing
    party. See McCarthy v. Dun & Bradstreet Corp., 482 F. 3d 184,200 (2d Cir. 2007),
    citing Farnan v. Davis, 37 U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d 222 (1962).

           Since the amendment here, seeks to add a party, it involves Fed. R. Civ. P. 21,
    although the "showing of necessity under Rule 21 is the same as required under Rule
    15(a)." Soroa/Trading Dev. Co. v. GE Microgen, Inc., 283 F.R.D. 142, 147 (S.D.N.Y.
    2012); see also Chan v. City of New York No. 19 cv. 7239 (RPK) (SJB) 2021 WL
    6502292 *4 (E.D.N.Y. December 19, 2021).

           Fed. R. Civ. P. 16(b) provides that scheduling orders "must limit the time to join
    other parties, amend the pleadings ... " Fed. R. Civ. P.16(b)(3)(A). A scheduling order
    may only be modified for "good cause". Fed. R. Civ. P. 16(b)(4). In Parker v. Columbia
    Pictures, 204 F. 3d 326 (2d Cir. 2000), the Second Circuit affirmed the denial of leave to
    amend stating:

                    We now join these courts in holding that despite the lenient
                   standard of Rule 15(a), a district court does not abuse its
                   discretion in denying leave to amend the pleadings after
                   the deadline set in the scheduling order where the moving
                   party has failed to establish good cause. Moreover, we agree
                   with these courts that a finding of "good cause" depends on
                   the diligence of the moving party. See In re Milk Prods.,
                   195 F. 3d [430] at 43 7 [8th Cir. 1999] (finding no good cause
                   where dismissal of the first complaint "should have alerted
                   plaintiffs" to inadequacies in the second complaint); Sosa [v.
                   AirprintSystems], 133 F. 3d [417] at419 [11th Cir. 1998]
                   (finding no good cause where party failed to discover
                   necessary information and was on notice in advance of the
                   deadline that her complaint was inadequate); Johnson [v. Mammoth
                   Recreations, Inc.], 975 F. 2d [604] at 609 [9th Cir. 1992] (refusing
                   to find good cause under Rule 16(a) where party received notice
                   long in advance of the deadline that the complaint did not name
                   all necessary parties). Id. at 340


            The Second Circuit in Grochowski v. Phoenix Construction, 318 F. 3d 80 (2nd
    Cir. 2003), again affirmed the denial ofleave to amend because the plaintiff missed the
    deadline in the scheduling order, and had delayed more than a year after the court
    decision upon which plaintiff based its move to amend. The Court reiterated that "a
    finding of good cause [under Rule 16(b)] depends on the diligence of the moving party"
    Id. at 86. It is now widely recognized that the motion to amend should be denied where


                                                 2
Case 1:21-cv-02062-ENV-SJB Document 39 Filed 11/09/22 Page 3 of 4 PageID #: 179



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    the movant has known of "the factual underpinning of potential claims ... since the
    outset of this litigation.'" Kiarie v. Dumbstruck, Inc., 473 F. Supp 3d 350 at 359
    (S.D.N.Y. 2020) quoting City of Washington v. City of Warren & Washington Indus. Dev.
    Agency, 2 F. App' d 71, 75 (2d Cir. 2001); accord. Ramirez v. ML. Restaurant Corp., No.
    14-cv-4030 (VEC) 2015 WL 12564227, at *l (S.D.N.Y. March 13, 2015). ("This is not a
    case where plaintiff learned about the putative employer status of the additional parties
    through discovery after the expiration of the scheduling order deadline.") See also
    Augustine v. AXA Fin., Inc., No. 07-cv-8362 (RWS), 2008 WL 5025017, at *6 (S.D.N.Y.
    Nov. 14, 2008) (denying plaintiffs motion to amend to add new employer defendant
    where plaintiff "had sufficient information to assert claims against the proposed
    individual defendants well in advance of the deadline to amend the Complaint").

           C) The Scheduling Order Provided That The Deadline To Amend
              Was April 27, 2022

            The Rule 26 (f) Report submitted by Plaintiff on behalf of both parties provided
    that the deadline for amendment "to join additional parties" was "04/27/2022)," (Rule
    26(±) Report, p. 2 ~ 2, Ex. A hereto, (docket #35). On February 4, 2022, this Court held a
    scheduling conference, and, as reflected in docket Minute Entry for those proceeding, the
    "Court[s] adopt[s] the parties proposed rule 26(±) report with the exception of the
    proposed settlement conference." The Minutes entry reiterated the Rule 26(±) discovery
    deadline of 9/12/2022, and based on that date, set a deadline for the first step of
    dispositive motion practice of 10/20/22 as well as a date for a conference to be held on
    9/14/2022. (A copy of the docket for entry #35 is annexed hereto as Exhibit B). Nowhere
    did this Court, as Plaintiff incorrectly asserts in his letter of motion of October 28, 2022,
    modify "the 26(±) report by removing the deadline to amend or add parties." (See
    Plaintiffs letter of October 20, 2022, p. 2, ~ 2).


            D) Plaintiff Has Known That Thomas Johnson Was The Officer
               Issuing The Summons From The Outset Of This Litigation

            Plaintiff admits in his letter of October 28, 2022 that on February 16, 2022, the
    Port Authority served its Rule 26 identifying Thomas Johnson as the police officer (See
    letter of October 28, 2022, p. 2, ~ 3). However, contrary to Plaintiffs assertion, that the
    Port Authority did not identify Johnson as the officer issuing the summons, the Port
    Authority's Rule 26 states: "Sgt. Thomas Johnson is the police officer who issued the
    summons to plaintiff." (A copy of the Rule 26 Voluntary Disclosure is annexed hereto as
    Exhibit C.) There was no second officer involved in Plaintiffs motor vehicle speeding
    violation.

            On May 12, 2022, Plaintiff served a notice of deposition for Sgt. Johnson for June
    13, 2022. (A copy of the notice of deposition is annexed hereto as Exhibit D.) The
    deposition had to be adjourned because Sgt. Johnson had Covid, but new dates of June
    27-29 and July 5, 6, 8 and 12th were promptly offered to Plaintiff. (A copy of the letter
    of June 23, 2022, annexed hereto as Exhibit E.) The deposition was held on July 7, 2022.
    Sgt. Johnson testified at his deposition that he was working alone and issued a speeding

                                                  3
Case 1:21-cv-02062-ENV-SJB Document 39 Filed 11/09/22 Page 4 of 4 PageID #: 180



                                                           lHE PORT AIRHORn'Y OF NY & NJ
    ticket to Mr. Weisshaus for driving 45 mph. in a construction zone where the posted limit
    was 25 mph. (A copy of excerpts from the transcript of Sgt. Johnson, pp. 1-3, 8-9, 31-34,
    41-50 is annexed hereto as Exhibit F.) Sgt. Johnson also testified that he was about to
    retire (Exhibit F, pp. 1-3, 8-9). Upon his retirement, the Port Authority provided his last
    known residence to Plaintiff (a copy of the email of September 13, 2022 is annexed
    hereto as Exhibit G). Although there is a typo in the email and an"*" appears instead of
    the number "8", Plaintiff failed to call this to the Port Authority's attention or request a
    corrected address.

            Plaintiff has known from February 16, 2022 that Sgt. Thomas Johnson was the
    officer who issued the summons. Throughout the litigation and well before the date the
    time to amend expired, he has had sufficient factual information to amend the pleadings
    to name Sgt. Johnson. The claim that he only obtained this information during the last
    moments of discovery is flatly contradicted by the records.

             Plaintiff has failed to show a "good reason" why he should be permitted to apply
    to this Court six months after the deadline in the scheduling order to amend the complaint
    to add a new party. Plaintiff has not only disregarded the scheduling order without
    justification, he has allowed the statute of limitations against Thomas Johnson to expire
    and now belatedly seeks to avail himself of the relation back doctrine. Thomas Johnson
    would be prejudiced if the Court allows the untimely amendment. This is particularly
    true since Plaintiff now seeks punitive damages in the amended complaint, which he
    cannot obtain against the Port Authority, but can obtain against Johnson. In addition,
    there will be delay, since Johnson must obtain representation. Because he is not
    indemnified for punitive damages by the Port Authority, Johnson may choose counsel
    outside the Port Authority Law Department. Under the well recognized legal standards in
    this jurisdiction, Plaintiffs application should be denied.


                                                              Respectfully submitted,




                                                                Kathleen Gill Miller


    KGM:kc

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